543 U.S. 1116
    JIMENEZ-VELASCOv.UNITED STATES;GONZALEZv.UNITED STATES;HINOJOSA-AGUIRREv.UNITED STATES;DEL BOSQUEv.UNITED STATES;LOZANO-TAMEZv.UNITED STATES;QUIROZ-ESCOBEDOv.UNITED STATES; andCAMPOS MADRIGALv.UNITED STATES.
    No. 03-10262.
    Supreme Court of United States.
    January 24, 2005.
    
      1
      542 U.S. 911; Petitions for rehearing granted. Orders denying petitions for writs of certiorari vacated. Motions of petitioners for leave to proceed in forma pauperis granted. Certiorari granted, judgments vacated, and cases remanded for further consideration in light of United States v. Booker, ante, p. 220.
    
    